Case 3:23-cv-00099-RGJ-CHL Document 5 Filed 03/31/23 Page 1 of 7 PageID #: 16




                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                      AT LOUISVILLE

   BRIDGET GORDON                      )
                                       )
         PLAINTIFFS                    )
   v.                                  )             CIVIL ACTION NO. 3:23-CV-99-RG
                                       )
                                       )
   KING FINANCIAL REPAIR, LLC          )             Electronically Filed
                                       )
         DEFENDANT                     )
                                       )
   ____________________________________)

                               ANSWER AND COUNTERCLAIM

          Comes the Defendant, King Financial Repair, LLC (“King”), by counsel, and for its

   Answer to the Complaint of the Plaintiff, Bridget Gordon (“Gordon”) states as follows:

          1. The allegations in paragraphs 1, 2, 3 and 4 are legal conclusions for which no

               answer is required. However, King further states that the statutes cited therein

               speak for themselves and any characterizations of said statutes that are

               inconsistent with their express terms are denied.

          2. King admits the allegation in paragraph 5 that it is a credit repair organization that

               is organized under the laws of the Commonwealth of Kentucky with its principal

               place of business located at 9850 Von Allmen Street, Suite 20, Louisville,

               Kentucky 40241 and denies the remaining allegations in paragraph 5.

          3.   The allegations in paragraphs 6 and 7 are legal conclusions for which no answer

               is required.

          4. King is without information sufficient to form a belief as to the truth of the

               allegations in paragraphs 8 and 9 and therefore denies said allegations.
Case 3:23-cv-00099-RGJ-CHL Document 5 Filed 03/31/23 Page 2 of 7 PageID #: 17




        5. King admits that it spoke with Gordon and entered into a contract with Gordon for

           credit repair services (the “Contract”) but denies the remaining allegations in

           paragraph 11.

        6. With regard to the allegations in paragraph 12, King states that the portion of the

           contract cited therein speaks for itself and denies that Gordon was entitled to her

           money back or that she requested her money back pursuant to the 90-day money

           back guarantee.

        7. King denies the allegations in paragraph 13.

        8. King admits the allegation in paragraph 14 that King informed Gordon that the

           monthly payment would include written disputes to all three major credit

           reporting agencies but denies the remaining allegations in paragraph 14, as King

           did not guarantee that the credit agencies would remove any inaccurate and

           negatively reported trade line from her consumer reports.

        9. King denies the allegations in paragraphs 15, 16, 17, and 18.

        10. King is without information sufficient to form a belief as to the truth of the

           allegations in paragraph 19 and therefore denies said allegations.

        11. King denies the allegations in paragraph 20.

        12. King admits the allegation in paragraph 21 that it never refunded Gordon’s money

           but affirmatively states that Gordon was not entitled to a refund under the terms of

           the Contract. King denies the remaining allegations in paragraph 21.

        13. King denies the allegations in paragraph 22 and 23.

        14. King admits the allegation in paragraph 24 that Gordon cancelled her Contract but

           denies the remaining allegations in paragraph 24.




                                             2
Case 3:23-cv-00099-RGJ-CHL Document 5 Filed 03/31/23 Page 3 of 7 PageID #: 18




         15. King admits that it spoke with Gordon as alleged in paragraph 25 but denies the

             remaining allegations in paragraph 25.

         16. King denies the allegations in paragraph 26.

         17. The allegations in paragraphs 28 and 29 are legal conclusions to which no answer

             is required.

         18. The allegations in paragraph 30 are citations to CROA sections 1679(b). King

             denies said allegations to the extent that they are inconsistent with the express

             terms of the statute.

         19. King denies the allegations in paragraph 31, 32 and 33.

         20. All allegations not expressly admitted herein are denied.

                                     AFFIRMATIVE DEFENSES

      1. The Complaint must be dismissed for failure to state a claim upon which relief can be

         granted pursuant to Fed. Rule Civ. Proc. 12.

      2. Gordon’s claims are barred by the doctrine of laches, estoppel and waiver.

      3. Gordon’s claims are barred by her unclean hands.

      4. The issues raised in Gordon’s Complaint have already been decided in Melinda

         Spencer, et al. v. King Financial Repair, LLC, Civil Action No. 3:20:CV-803-DJH.

         In a Memorandum Opinion and Order entered July 6, 2022, Judge Hale found that it

         was permissible for a credit repair organization to charge a client on a monthly basis

         for services that were performed during the previous month and that charges for

         consultation fees are appropriate. (See, Memorandum Opinion and Order attached

         hereto as Exhibit 1, p. 6-8). In addition, the Court found that King did not make any




                                              3
Case 3:23-cv-00099-RGJ-CHL Document 5 Filed 03/31/23 Page 4 of 7 PageID #: 19




         untrue or misleading representations of its goods or services in violation of 15 U.S.C.

         sec. 1679(b).

      5. The Contract between Gordon and King specifically provides that:

         [n]either you nor any “credit repair” company or credit repair organization
         has the right to have accurate, current and verifiable information removed
         from your credit report (See, Contract between King and Gordon attached
         hereto as Exhibit “2”, p. 2).

         Thus, Gordon’s claims that King guaranteed that certain items would be removed

         from her credit report must be dismissed as a matter of law.

      6. The Contract between Gordon and King specifically provides that King “does not

         guarantee any specific outcomes or results on behalf of consumer” (Exhibit “2”, p. 1).

      7. The 90-Day Money Back Guarantee in the Contract only applies if the customer

         complied with their commitments to King and if the customer has not had any repairs

         or deletions to his or her credit report (Exhibit “2”, p. 6, Sec. I). Gordon did not

         comply with her commitments under the Contract and Gordon had a deletion from

         her credit report. Therefore, the 90-Day Money Back Guarantee is inapplicable

         herein.

                                        COUNTERCLAIM

      1. King is a credit report organization pursuant to the Credit Repair Organizations Act

         and provides credit repair services to customers by preparing correspondence to credit

         bureaus to and using its best efforts to request removal of errors, misrepresentations

         or unverifiable information on the customers’ credit reports (Ex. “2”, p. 4, Sec. A).

      2. The services provided by King also include an initial credit audit and development of

         a plan to delete, correct or change inaccurate, unverifiable or obsolete items on a

         customer’s credit report. In addition, King creates a case file and sets up an online



                                              4
Case 3:23-cv-00099-RGJ-CHL Document 5 Filed 03/31/23 Page 5 of 7 PageID #: 20




           portal and helpdesk account. The price of the initial credit audit is $299.00 (Ex. “2”,

           p. 4, Sec. B1).

      3. King did not guarantee any specific outcomes or results for its services (Ex. “2”, p.

           1).

      4. Additional services provided by King are the preparation of letters to credit bureaus

           to request removal of errors, misrepresentations or unverifiable or obsolete

           information.

      5. King customers agree to make monthly payments to King in the amount of $147.00

           per month for a minimum of six months (Ex. 2, p. 4, Sec. B2).

      6. The Contract provides that if a customer cancels the Contract prior to six months or

           fails to comply with the terms of the Contract, the fees for King services will be billed

           at $75.00 per disputed item (Ex.2, p. 4, Sec. B1).

      7. The Contract further provides that customers are required to maintain a credit card

           monitoring service such as Identity IQ so that King can monitor the customers’ credit

           reports (Ex. 2, p. 1).

      8.    King entered into a Contract with Gordon on or about June 22, 2020 (Ex “2”). On

           that same date, she set up her account in the King portal and King completed the

           credit audit or “Analyzer” for Gordon and posted it in her portal.

      9. After the credit audit was complete, Gordon paid King $299.00 per the terms of the

           Contract.

      10. On July 5, 2020, King sent out letters to credit bureaus requesting correction or

           deletion of inaccurate or outdated information.

      11. Gordon paid the monthly fee of $149.00 to King on July 23, 2020.




                                                 5
Case 3:23-cv-00099-RGJ-CHL Document 5 Filed 03/31/23 Page 6 of 7 PageID #: 21




      12. On August 23, 2020, King sent out a second round of letters to credit bureaus on

         Gordon’s behalf.

      13. Gordon failed to make a monthly payment in August, 2020.

      14. Gordon requested her money back per the 90-day money back guarantee. However,

         she was not entitled to her money back as she had failed to make the monthly

         payment for August and had failed to maintain credit monitoring, both of which were

         conditions precedent for the money back guarantee (Ex. 2, p. 6, Sec I).

      15. Gordon paid the past-due amount for August in September, 2020.

      16. Gordon failed to pay the monthly payment for September, 2020 and failed to make

         any other payments, thus the Contract was terminated prior the end of the six-month

         period.

      17. Therefore, Gordon is liable to King in the amount of $3,150.00 as there were 42

         disputed items on her credit report which are billed at a rate of $75.00 per disputed

         item pursuant to the terms of the Contract.

      18. In addition, Gordon’s attempts to make payment to King failed on 11 separate

         occasions resulting in a charge of $30.00 per failed payment or a total of $330.00

         pursuant to the terms of the Contract (Ex. B, p. 5, Section C).

      19. Gordon breached the Contract with King and owes King a total of $3,480.00.

      20. In addition, King is entitled to recover its legal fees incurred in collecting the amounts

         due (Ex. B, p. 6, Section I).

   WHEREFORE, King requests that:

         1. The Complaint be dismissed, with prejudice;

         2. It recover compensatory damages on its Counterclaim;




                                                6
Case 3:23-cv-00099-RGJ-CHL Document 5 Filed 03/31/23 Page 7 of 7 PageID #: 22




          3. It recover its fees and costs incurred in collecting the amounts owed; and

          4. Any and all other relief to which King is entitled, both at law and equity.

                                                Respectfully submitted,

                                                /s/ Jan M. West_______________________
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                               CERTIFICATE OF SERVICE

           I hereby certify that on this 31st day of March, 2023, the foregoing was served via
   electronic mail to the following:

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                                                /s/ Jan M. West_______________________
                                                Jan M. West, Counsel for Defendant




                                               7
